Case 4:22-cv-11009-FKB-DRG ECF No. 134-7, PageID.4168 Filed 03/26/25 Page 1 of 2




                     EXHIBIT F
          Case 4:22-cv-11009-FKB-DRG ECF No. 134-7, PageID.4169 Filed 03/26/25 Page 2 of 2




                                                                                                                                     of        settle-
                                                                                                                                         P ersonal
                                               od    attractions                                 to       perform
                                                                                                                                 a

            15)         protherho w i i t h              the                  Failure                                    agreements;
                                                                                   of                                           at
            in        connection                                      n                                        10 h o u r s
ment                         date;   ;       preparatio
appearance conferences;
                             $1,250-00-                                                                   of            n e w,   agreement
                                                Negotiation   -



                                                                     conferences
             16)            pernie worrella n d T h a n g ; personal     ana cl i e n t ;
                                         Worrell                                                          Worrell
petween B e r n i e                                attorney
                                                                      at
                                                                               fo
                                                                                        $125.00                $875-00-
                                               7 hours
                                                                                      of settlement agreement
                                                                  Neg o t i a t i o n Medius; telephone
                                                                                                         con”
                             Mariow i tMedius   .-
                                       h cl a i m
                                                   of                              fees     due
                                                                                                           at        $125.00       $625.00-     --




                                                                                          5 hours
           connectio n c o r
                                                                                   _-




 an                                                                                                                                   of
 ferences
                            and                                                                                      o f settlement
                                                                                    -


                                                                                         Negotiatio                n
                                                                                                                             3
                                                                                                                                at
                                                                                                                                 hours
                              southwest Leasing
                                                                                                                   _-


                                                                                            ofcars
      7


                  18)                                    the                  Lease
                                             @ue    on
                      for     sums
  claim                                                                                                                                    with
  $125-00
                                                                                                 loan          on          Newark property
                                                                          i



                                                                                          ith
                                                                                                                                                     3    hours
                                                                  to
                              George cl i n t o n
                                                                               i




                        y                3




                                                                                                                                                                           -




                                                                                                                        affiliation of
                                                                                                                                    advance;
                                                                                                                                          of         an
                                                                                                                         uring
                      20)         George TcI Tl i nwt iot hn , B M I a n d the s e c                           ~                 nours               at   .$125-00
                                                                                   conferences                              2
          George

                                                                                                                            and
           $250.00-                                               unc le                  Jam Records
                                                         of                                                                                                          new
                       21)        Formation                                                                                          _



                                                                                                                                          review o f
                                    creative Management      conferences
                                                  telephone a t $125-00
                              for George
                                     with client
                                                     6 hours
            agency agreements
                         conferences
            and        personal                                                                                                                               in   con”
                                                                                                                            Thang              inc.
            §750.00-                                       Lawsuit against
                                                    Klein                telephone conferences?
                                                                  -




                                                    automobile accident;
                            23)      Steve
                                  with        an               t
                                                                              $500.00-                             --




             nection
                                                                        Negotiation. of extension
                                                                                         personal     -
                                                                                                                                                          é




                                                          Management      o f Gocuments;

                                                   agreement; preparation                                                with            mane

                 of    managem e n t                           confe r e n c e s
                                         s   and
                 conference g n o u r s                  at       $125-00
                 client

                                                                                                                                                      Ae
                                                                                          Bx                                                                  G C - F M 033849
